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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,
                                               §
                                               §
       Plaintiffs,
                                               §
                                               §       Civil Action No. 1:17-cv-00365-DAE-AWA
vs.
                                               §
                                               §
GRANDE COMMUNICATIONS
                                               §
NETWORKS LLC,
                                               §
                                               §
       Defendant.
                                               §
                                               §
      PLAINTIFFS’ OPPOSITION TO DEFENDANT GRANDE COMMUNICATIONS
                       NETWORKS LLC’S OBJECTIONS

         Plaintiffs respectfully submit this opposition to Grande’s two sets of objections to the

 Magistrate Judge’s Orders (Dkt. Nos. 285 and 286).

         Having lost the protection of the DMCA’s safe harbor and having failed in its repeated

 gambits to strike Plaintiffs’ evidence, Grande appears to perceive correctly the predicament it

 faces: Plaintiffs’ overwhelming evidence establishes Grande’s copyright infringement. A

 reasonable response would be for Grande to concede liability and proceed to a trial limited solely

 to the issue of damages. Instead, however, Grande persists in repeating the same meritless

 challenges to Plaintiffs’ evidence that this Court has rejected time and again. Grande’s arguments

 fare no better now than they did in the past. Plaintiffs have already successfully defended their

 evidence at length, and the Court has allowed the evidence to stand. Plaintiffs will not burden the

 Court with yet another full-length recitation of its arguments. Instead, Plaintiffs incorporate by

 reference their oppositions to Grande’s motions to exclude and Plaintiffs’ successful motion to

 strike, which Magistrate Judge Austin rightly determined merited an award of costs and fees to

 Plaintiffs.



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          One point, however, bears emphasis. Grande’s objections are based in part on its claim

that Plaintiffs are somehow relying on new evidence that was not previously disclosed. As the

Magistrate Judge found, the record demonstrates that Grande is incorrect:

          At various points in this case, Grande has complained about these files being “new”
          evidence or a “new theory.” See, e.g., Dkt. No. 201 at 11- 15. But in fact, UMG
          referenced these files in its original complaint, Dkt. No. 1 at ¶ 43, referred to them
          during the argument on the motion to dismiss, Dkt. No. 64 at 31-32, produced them
          to Grande in April 2018, Dkt. No. 172 at 13 n.7, and identified them in an
          interrogatory response, Dkt. No. 173-96 at 3. This evidence is not new.

Order (Dkt. No. 279) at 4.

          The Magistrate Judge also correctly rejected Grande’s baseless insistence that Grande did

not know Plaintiffs intended to rely on the downloaded files as evidence in the case. Id. at 7-9.

Unfortunately, Grande now misrepresents the record in its pursuit of this argument. Grande

disputes the Magistrate Judge’s observation that Plaintiffs referred to the downloads of Plaintiffs’

recordings at the October 2017 hearing on Grande’s motion to dismiss. Specifically, Grande

claims that, at the hearing, “counsel mentioned that the Rightscorp System is capable of

downloading files, but he never referenced the Song Files.”1 Grande’s assertion is demonstrably

false.    The record shows that, as the Magistrate Judge noted, Plaintiffs’ counsel expressly

referenced the downloads at the hearing.2 Indeed, at that hearing, Grande’s counsel also referred

to the downloads.3 For this reason, and all the other reasons already explained by Plaintiffs in the

prior briefing, the record fully supports the Magistrate Judge’s conclusions. In fact, Grande’s



1
  Grande Objs. (Dkt. No. 285) at 8 (emphasis in original).
2
  Oct. 24, 2017 Hrg. Tr. at 30:9-11 (Plaintiffs’ counsel: “They acquire full, actual copies and we
will produce full, actual downloaded copies of each of the 1500 works in Exhibit A.”); id. at
40:14-17 (“[W]e have and there exists copies from the Rightscorp system of actual duplications
of each and every copyrighted work that’s listed.”).
3
  Id. at 56:14-22 (“[Plaintiffs’ counsel] referenced actual downloads that were conducted. . . . I
think what my opposing counsel was suggesting is that they, separately and apart from that, may
have gone to subscribers and pulled down infringing files.”).

                                                    2
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expert, Dr. Cohen, acknowledged at his deposition that (1) he had the hard drive with the

downloads, (2) looked at a few that had been cherry picked by Grande’s counsel, but (3) chose not

to (or was not directed to) review them further. Grande must live with this decision.

       Similarly, Grande’s objections to the denial of its motions to exclude Plaintiffs’ experts

add nothing to the arguments carefully reviewed and rejected by the Magistrate Judge.4 There is

no sound basis to set aside the Magistrate Judge’s well-reasoned opinions. The Court should deny

Grande’s objections.

Dated: August 6, 2019                        Respectfully submitted,

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4
  See, e.g., Order (Dkt. No. 280) at 3 (“Whatever this argument is, it is definitely not a Daubert
motion.”) (emphasis in original); id. at 6 (“Neither of these arguments has merit.”); id. at 7
(“None of these arguments have merit.”).

                                                 3
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on August 6, 2019, all counsel of record who are deemed to
have consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system pursuant to Local Rule CV-5(b)(1).


                                             /s/ Daniel C. Bitting
                                             Daniel C. Bitting




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